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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

 UNITED STATES,                        Case No.: 2:17-CR-00204-MCA

                                       Criminal Action

 KARTHIK NIMMALA,
                                       ORDER
             Defendant.



       This matter having come before the Court on the Motion of Defendant

 Karthik Nimmala (Paul B. Brickfield, Esq. appearing) for an Order granting

 early termination of probation pursuant to Title 18, United States Code, Section

 3564(c) and the United States Attorneys Office having been advised of this

 Motion via electronic filing and regular mail on October 29, 2018 and for good

 cause shown, it is hereby

       ORDERED this           I   day of January 2019 that Defendant’s probation is

 hereby’ terminated on favorable grounds; and

       IT IS FURTHER ORDERED that Defendant is no longer required to

 report to United States Probation.



                                          Honorable Madeline Cox Arleo, U.S.D.J.
